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SETTLEMENT AGREEMENT AND
MUTUAL GENERAL RELEASE OF CLAIMS

This Settlement Agreement and General Release (hereinafter the “Agreement”) is
entered into by and between Plaintiff, JOHN GOLLADAY (‘Plaintiff’), and Defendants,
ABC ELECTRIC SERVICE, INC., a Florida Profit Corporation, and JOSEPH A.
ABRAHAM, Individually (collectively “Defendants”).

WHEREAS, Plaintiff filed a lawsuit alleging claims against Defendants in the
United States District Court, Middle District of Florida, for alleged violations of the Fair

Labor Standards Act; and

WHEREAS, Defendants have denied any violations of the Fair Labor Standards
Act; and

WHEREAS, the parties prefer to avoid the uncertainties and continued expense of
litigation;

NOW, THEREFORE, in full consideration of the mutual promises and covenants
contained in this Agreement and other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged by the parties, Plaintiff and Defendants,

agree as follows:

1. The parties desire to reach a full and final settlement and resolution of all
past and present claims, controversies and disputes that Plaintiff has or may have against
Defendants and their parents and predecessors, affiliates, subsidiaries, related companies,
owners, officers, directors, partners, employees or agents, in their individual or
representative capacities (hereafter collectively the “Released Parties”), or that
Defendants may have against Plaintiff, related in any way to Plaintiffs former
employment with any of the Defendants as of the date of this Agreement, including all
claims alleged in this matter or any other matter, as well as any allegations that Plaintiff
is owed any wages, compensation, penalties, contractual amounts, or other monies, or
any other claims that relate in any way to Plaintiff's former employment with Defendants
as of the date of this Agreement.

2. For and in consideration of the promises outlined in Paragraph 3 of this
Agreement, Plaintiff agrees as follows:

A. To settle and release any and all claims which Plaintiff has against
Defendants, including but not limited to claims related to Plaintiffs claim
for unpaid wages which arose or may have arisen prior to the date of
execution of this agreement and to dismiss, with prejudice, the case he has
filed in the U.S. District Court, Middle District of Florida, Fort Myers
Division, Case No. 2:15-cv-377-UA-DNF (the “Lawsuit”);

B. To agree and acknowledge that this settlement does not constitute an
admission by Defendants of any violation of any federal, state, or local
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duty owed by Defendants to Plaintiff, and

C. To file a joint motion for approval of this Settlement Agreement in the
Lawsuit, and in that motion to seek dismissal of the Lawsuit with

prejudice.

3, For and in consideration of the promises made by Plaintiff in Paragraph 2
of this Agreement, Defendants agree to pay Plaintiff the total consideration of Thirty
Thousand Dollars ($30,000.00). The first payment being Five Thousand Dollars
($5,000.00) and the remaining amount in monthly installments of Seven Hundred Fifty
Dollars ($750.00), with payments beginning September 1, 2016, and recurring on the 1st
of each month until the balance is paid in full. See attached Schedule of Payments. The
initial payment of Five Thousand Dollars ($5,000.00) will be due within ten (10) days of
the date Plaintiff returns an executed copy of this Agreement to counsel for Defendant by
email or facsimile. Of the settlement proceeds, Plaintiff will receive a total of Twenty
Thousand dollars ($20,000.00), representing Ten Thousand Dollars ($10,000.00) in
wages and Ten Thousand Dollars ($10,000.00) in liquidated damages. With respect to
Mr. Golladay’s payments, each check through November 2017 (the first $10,000) shall
be made payable to John Golladay, and reported on an IRS Form 1099 as “other income.”
The remaining payments to Mr. Golladay shall be made payable to John Golladay, and
less applicable and lawful withholdings, and reported on an IRS Form W-2. Plaintiff's
counsel will receive Ten Thousand Dollars ($10,000.00), made payable to Morgan &
Morgan, P.A., representing attorneys’ fees and costs incurred on Plaintiff's behalf.
Plaintiff specifically is aware of, and agrees with, the amount of attorneys’ fees and
costs to be paid to his counsel for representing his interests in this matter.

4. Each payment, as described in Paragraph 4.above, must be received by
Plaintiff's counsel (c/o Angeli Murthy, Esq., Morgan & Morgan, P.A., 600 North Pine
Island Road, Suite 400, Plantation, Florida 33324) by the due dates described therein. If
the Defendants fail to make any one of the payments described above by the due date,
Morgan & Morgan, P.A. will notify the Defendants’ attorney, John Agnew, by e-mail at
John.Agnew@henlaw.com (or another attorney designated by Defendants at any time
between the execution of this Agreement and the date that the proceeds are paid in full)
and request a cure of this defect. The Defendants shall thereafter have five (5) calendar
days from the date of the notice to cure the defect. If the defect is not cured within the
five (5) day period, the remaining balance of all amounts owed under this Agreement
shall become immediately due and owing. Plaintiff shall have the right to immediately
file a judgment against Defendants for all such amounts, plus interest (at the applicable
State of Florida interest rate in effect) from the date of the settlement agreement, and
reasonable attorneys’ fees and costs associated with the entry of such judgment. Each
Defendant agrees that it/he is jointly and severally liable for all payments due under
paragraphs two (2), three (3), and four (4) of this Agreement.

5. Mutual General Release of Claims.

a. This Agreement shall constitute a waiver and release of any and all
claims Plaintiff has, might have, or believes he has, as of the date of this Agreement,
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subsidiaries, affiliates, and its directors, officers, shareholders, members, employees --
including, but not limited to, agents, insurers and attorneys, whether such claims arise or ~
could arise under federal, state, administrative, or local law (including but not limited to,

actions for compensatory damages, pain, suffering, and emotional distress).

 

 

 

 

b. Defendant knowingly and voluntarily releases and forever —
discharges Plaintiff of and from any and all claims, known and unknown, which
Defendant has or may have as of the date of execution of this Agreement. Defendant’s _
release of Plaintiff is intended to be, and is, broad as the release of Defendant in

paragraph 5{c) below.

 

 

C. Plaintiff knowingly and voluntarily releases and forever discharges
Defendant, its parents, predecessors, successors, independent contractors, subsidiaries,
insurers, affiliates, and its directors, officers, shareholders, members, employees --
including, but not limited to, agents, insurers and attorneys of and from any and all
claims, known and unknown, which Plaintiff has or may have as of the date of execution
of this Agreement, including, but not limited to, any alleged violation of:

e Labor Management Relations Act of 1947; ield Code
The Employee Retirement Income Security Act of 1973; 8

 

 

 

 

 

 

 

 

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° The Consolidated Omnibus Budget Reconciliation Act of 1985;

° The Civil Rights Act of 1866;

° The Civil Rights Act of 1964;

° The Civil Rights Act of 1991;

° Age Discrimination in Employment Act of 1967;

e Sections 1981 through 1988 of Title 42 of the United States Code;

° The Americans with Disabilities Act of 1990;

° The Fair Labor Standards Act;

e The Occupational Safety and Health Act,

° The Family and Medical Leave Act of 1993;

° The Florida Civil Rights Act of 1992;

° The Florida Equal Pay Act, § 725.07, Florida Statutes;

o- Equal Pay Act of 1963;

° The Florida Whistleblower Act, § 448.102, et seq., Florida
Statutes;

° Florida’s Wage Rate Provision, § 448.07, Florida Statutes;

° Florida’s Attorneys’ Fees Provision for Successful Litigants in
Suits for Unpaid Wages, § 448.08, Florida Statutes;

° The Rehabilitation Act of 1973;

° The Health Maintenance Organization Act of 1973,

e The Immigration Reform and Control Act of 1986;

° Executive Order 11141;

e Executive Order 11246;

° Executive Order 11375;

° Any other federal, state or local civil or human

rights law or any other local, state or federal law,
regulation or ordinance;

 
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° Any public po. icy. ehemact tort! GERD (a8. rage 4 of 8 PagelD 103

e Any allegation for costs, fees, or other expenses
including attorneys’ fees incurred in these matters

 

 

each as amended, and any other federal, state or local civil or human rights law, or any
other local, state or federal law, rule, regulation or ordinance, and/or public policy,
contract, or tort or common law claim, including, but not limited to, any claims for
defamation, negligent misrepresentation and/or breach of contract, having any bearing
whatsoever or based on any matter or conduct, including without limitation any matter
involving the terms and conditions (including compensation and benefits) of Plaintiffs
employment with Defendant and this action, which she has or may have as of the date of
this Agreement. However, the Parties acknowledge and agree that this release does not
cover, and specifically excludes, claims under the Florida Workers’ Compensation Act.
Plaintiff does acknowledge and agree that, as of the date he signs this document, he has
no known worker’s compensation claims to bring against the Defendants.

 

6. Within two (2) days of Plaintiff's execution of this Agreement, the parties
agree to file their agreed Joint Motion for Approval of Settlement in accordance with the
requirements of the FLSA, and to request that the Court dismiss the action with prejudice.

7. In the event that Plaintiff or Defendants commence an action for damages,
injunctive relief, or to enforce the provisions of the Agreement, the prevailing party in
any such action shall be entitled to an award of its reasonable attorneys’ fees and all costs
including appellate fees and costs, incurred in connection therewith as determined by the =
court in any such action. s

8. The Parties mutually agree that they shall not make comments intended to =
disparage or cause financial or reputational harm to any party to the Lawsuit.

9, For valuable consideration and as an inducement to Plaintiff to accept
Thirty Thousand Dollars ($30,000.00) from Defendants in monthly payments rather than
one full payment of Thirty Thousand Dollars ($30,000.00), Defendants covenant and
agree that these balances shall be paid according to the schedule set forth in paragraph
four (4), and that should either or both Defendants file for bankruptcy, no Defendant shall
seek to have this debt discharged therein.

 

 

 

 

 

10. Plaintiff acknowledges and agrees that with the payment of the amounts
stated herein 3, he has reached what he believes is a reasonable compromise of his claims
for wages and liquidated damages potentially owed to him under the Fair Labor
Standards Act, as well as all attorneys’ fees incurred to date. Specifically, Plaintiff has
concerns that continued litigation would harm Defendant financially to the point that
Plaintiff would be unlikely to recover anything in the litigation, even if he should prevail.
Defendants deny that any monies are owed to Plaintiff, and are offering this amount that
Plaintiff accepts as full compensation for wages, liquidated damages, and attorneys’ fees,
solely to avoid the costs of continued litigation. a

 
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into knowingly and voluntarily, after having the opportunity to fully discuss it with an
attorney. Having had the opportunity to obtain the advice of legal counsel to review,
comment upon, and redraft the agreement, the parties agree that the Agreement shall be
construed as if the parties jointly prepared it so that any uncertainty or ambiguity shall
not be interpreted against any one party and in favor of the other.

12. This Agreement supersedes all prior agreements and understandings
between Plaintiff and Defendants. No cancellation, modification, amendment, deletion,
addition, or other changes in this Agreement or any provision hereof or any right herein
provided shall be effective for any purpose unless specifically set forth in a subsequent
written agreement signed by both Plaintiff and the Defendants.

13. Should any provision of this Agreement be declared or determined by any
court of competent jurisdiction to be illegal or invalid, the validity of the remaining parts,
terms or provisions shall not be affected thereby and said illegal or invalid part, term or
provision shall be deemed not to be a part of this Agreement and all other valid
provisions shall survive and continue to bind the parties. ,

14. This Agreement may be executed in counterparts and an executed version
of this Agreement, if transmitted by facsimile or if scanned and emailed, shall be
effective and binding as if it were the originally executed document.

15. The parties agree that this Agreement was entered into in the State of
Florida, and shall be construed and enforced in accordance with the laws of the State of
Florida. In the event that any party is forced to institute legal proceedings for breach of
the terms of this Agreement, it is specifically understood and agreed that any such legal
proceeding must be brought exclusively in the federal or state courts servicing Florida.
This Agreement may be introduced into evidence to establish and enforce the settlement
reached by the parties, and the parties agree that this Agreement shall be submitted for

Court approval.

16. | The law governing this Agreement shall be that of the United States and
the State of Florida.

IN WITNESS WHEREOF, the parties hereto knowingly and voluntarily execute
this Agreement:

DATE: G/ 3/ lo Signature: -

 
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ABC OL, SERVIC .
BY: Me Lo Jey A
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DATE: 8) IP Signature:

JosyPH A. ABRAHAM

 
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